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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

MATTHEW IRVIN,                                         )
                                                       )
                       Plaintiff,                      )
                                                       )
               v.                                      )    Civil Action No: 1:22-cv-00385 (UNA)
                                                       )
FACEBOOK, et al.,                                      )
                                                       )
                       Defendants.                     )

                                    MEMORANDUM OPINION

       This matter is before the court on its initial review of plaintiff’s pro se complaint, ECF No.

1, and application for leave to proceed in forma pauperis (“IFP”), ECF No. 2. The court will grant

the IFP application and dismiss the case because the complaint fails to meet the minimal pleading

requirements of Federal Rule 8, in addition to other Federal and Local Rules of Civil Procedure.

       Pro se litigants must comply with the Rules of Civil Procedure. Jarrell v. Tisch, 656 F.

Supp. 237, 239 (D.D.C. 1987). Preliminarily, neither the complaint nor the IFP application are

captioned for this court. The complaint is captioned for the “Circuit Courts of the District of

Columbia,” and the “Circuit Civil Courts of the Nineteenth Judicial Circuit.” The IFP application

lacks a caption entirely. Therefore, both submissions fail to comply with Federal Rule 10(a).

Additionally, plaintiff provides piecemeal information regarding the intended defendants, in

further contravention of Federal Rule 10(a) and D.C. Local Civil Rule 5.1(c)(1).

       Moreover, Rule 8 of the Federal Rules of Civil Procedure requires complaints to contain

“(1) a short and plain statement of the grounds for the court’s jurisdiction [and] (2) a short and

plain statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a); see

Ashcroft v. Iqbal, 556 U.S. 662, 678-79 (2009); Ciralsky v. CIA, 355 F.3d 661, 668-71 (D.C. Cir.

2004). The Rule 8 standard ensures that defendants receive fair notice of the claim being asserted

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so that they can prepare a responsive answer and an adequate defense and determine whether the

doctrine of res judicata applies. Brown v. Califano, 75 F.R.D. 497, 498 (D.D.C. 1977). A

complaint “that is excessively long, rambling, disjointed, incoherent, or full of irrelevant and

confusing material will patently fail [Rule 8(a)’s] standard, and so will a complaint that contains

an untidy assortment of claims that are neither plainly nor concisely stated, nor meaningfully

distinguished from bold conclusions, sharp harangues and personal comments.” Jiggetts v. D.C.,

319 F.R.D. 408, 413 (D.D.C. 2017), aff’d sub nom. Cooper v. D.C., No. 17-7021, 2017 WL

5664737 (D.C. Cir. Nov. 1, 2017). The instant complaint falls within this category.

        The prolix complaint totals 128 pages. It is disorganized and incomprehensible. Neither

the court nor the defendants can be expected to decipher what claims plaintiff attempts to bring,

or to discern any basis for jurisdiction or to plaintiff’s entitlement to relief, if any. Consequently,

it fails to meet the minimal pleading standard set forth in Federal Rule 8(a), as well as the strictures

of Federal Rule 10(b) and D.C. Local Civil Rule 5.1(d)–(e).

        For all of these reasons, the complaint, ECF No. 1, is dismissed. An order consistent with

this memorandum opinion is issued separately.




                                                         TREVOR N. McFADDEN
  Dated: May 10, 2022                                    United States District Judge




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